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                         UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF RHODE ISLAND



 BUREAU OF CONSUMER FINANCIAL
 PROTECTION,
                                                               Case No. 1:20-cv-00044-WES-LDA
                         Plaintiff,
                                                               Judge William E. Smith
        v.
                                                               Magistrate Judge Lincoln D. Almond
 CITIZENS BANK, N.A.,

                         Defendant.



                   STIPULATION REGARDING EXTENDING TIME FOR
                              DEFENDANT’S ANSWER

        Plaintiff Bureau of Consumer Financial Protection and Defendant Citizens Bank, N.A.,

 hereby stipulate and agree that Defendant shall have up to and including December 31, 2020 to

 file an answer to the Plaintiff’s Complaint in this action.

     Respectfully submitted:


     Plaintiff,                                           Defendant,

     CONSUMER FINANCIAL PROTECTION                        CITIZENS BANK, N.A.,
     BUREAU,

     By its attorneys,                                    By its Attorneys,

     /s/ Rebeccah Watson                                  /s/ Geoffrey W. Millsom
     Rebeccah Watson (DC #989313)                         Geoffrey W. Millsom (#6483)
     Charles Eric Mothander (DC #1032539)                 Brenna Anatone Force (#8555)
     Renée S. Orleans (MD Bar)                            Daniel J. Procaccini (#8552)
     Enforcement Attorneys                                ADLER POLLOCK & SHEEHAN P.C.
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      E-mail: Renee.Orleans@cfpb.gov
      Dated: December 10, 2020                         - and -

                                                       /s/ Helgi C. Walker
                                                       Helgi C. Walker, pro hac vice
                                                       Elizabeth P. Papez, pro hac vice
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                                                       Dated: December 10, 2020




                                CERTIFICATE OF SERVICE

         I hereby certify that I filed the foregoing Answer through the ECF system on the 10th day
 of December, 2020, and that notice will be sent electronically to all counsel who are registered
 participants identified on the Mailing Information for 1:20-cv-00044-WES-LDA.

                                                 /s/ Daniel J. Procaccini




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